Case 2:18-cv-00010-KLD Document 201 Filed 06/29/22 Page1of1

Kevin Briggs 2060493
Montana State Prison
700 Conley Lake Road
Deer Lodge, MT 59722

Plaintiff, pro se

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MONTANA
BUTTE DIVISION

KEVIN BRIGGS, Case No. 18-0010-BU-KLD
Plaintiff, Hon. Judge Kathleen DeSoto
vs. PLAINTIFF'S CONSENT TO
WITHDRAW AND MOTION TO
GALLATIN COUNTY, PROCEED PRO SE
Defendants.

COMES NOW Kevin Briggs, Plaintiff, and respectfully consents
to the amicable withdrawal of counsel Benjamin Darrow. Plaintiff

also respectfully requests for the Court to please grant permission
for Briggs to proceed pro se so as to consider Plaintiff's timely
Rule 59 Motion for a New Trial and to Alter or Amend Judgment, as

well as forthcoming Notice of Appeal.

Respectfully submitted this 28th day of June, 2022.

Kevin A.
Plaintiff’, pro se

Page 1 of 1
